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RE:    YOUNG, Shelly Diane
       Docket Number: 2:04CR00433-01
       REPORT OF OFFENDER NON-COMPLIANCE


The probation officer will revisit the community service issue in approximately 12 months.
If Ms. Young's health has not stabilized, and she has been unable to perform any hours,
it is likely the probation officer will recommend the Court vacate the community service
sanction. No Court action is recommended at this time on either of these issues.




                                 Respectfully submitted,

                                /s/ Jeffrey C. Oestreicher

                            JEFFREY C. OESTREICHER
                           United States Probation Officer
                             Telephone: (530) 246-5366




DATED:       November 18, 2005
             Redding, California
             JCO




REVIEWED BY:        /s/ Richard A Ertola
                    RICHARD A. ERTOLA
                    Supervising United States Probation Officer




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RE:    YOUNG, Shelly Diane
       Docket Number: 2:04CR00433-01
       REPORT OF OFFENDER NON-COMPLIANCE




                              NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     IRREGULAR RESTITUTION PAYMENTS
2.     FAILURE TO PERFORM COMMUNITY SERVICE


Details of alleged non-compliance: Ms. Young is currently disabled and unemployed.
She is surviving on $580 per month state disability insurance payments, as well as up to
$520 per month child support (the actual amount varies). She suffers from a variety of
ailments, including a degenerative disc condition in her back, as well as heart problems.
She may, at some point, be eligible for a permanent SSI Disability grant, but this is unclear
at this time. She has paid the special assessment in full, but has managed to make only
three $30 payments (total of $90) towards the restitution balance. Her health issues have
prevented her from performing any type of community service at this time.



United States Probation Officer Plan/Justification: Ms. Young's case is pending
transfer of supervision to the Central District of California. She is planning on living with
her sister's family. This seems to be a much healthier environment than her present
situation, and it is hoped she can recover to the point she may be able to complete the
community service. Restitution payments will most likely continue to be sporadic, due to
her financial situation. It is felt she has paid to the best of her ability up to this point, and
no adverse action is recommended.




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RE:   YOUNG, Shelly Diane
      Docket Number: 2:04CR00433-01
      REPORT OF OFFENDER NON-COMPLIANCE




THE COURT ORDERS:

(x)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

( )   Submit a Request for Modifying the Conditions or Term of Supervision.

( )   Submit a Request for Warrant or Summons.

( )   Other:

November 21, 2005                                   /s/ Peter A. Nowinski
Date                                             Signature of Judicial Officer


cc:   United States Probation
      Misdemeanor Unit, United States Attorney
      Quin Denvir, Federal Defender

Attachment: Presentence Report (Sacramento only)




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